




Form: Dismiss TRAP 42.1(a)(1)













COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



MALCOLM MCGREGOR,


                            Appellant,


v.


FRED NELAN AND NELAN &amp; PECK,
P.C.,


                            Appellee.

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No. 08-03-00097-CV


Appeal from the


County Court at Law No. Three


of El Paso County, Texas


(TC# 98-2303)


							

M E M O R A N D U M    O P I N I O N
	Pending before the Court is the Appellant's motion to dismiss this appeal pursuant to
Tex. R. App. P. 42.1(a)(1), which states:

	(a)  On Motion or By Agreement.  The appellate court may dispose of an appeal as
follows:

					

		(1)  On Motion of Appellant.  In accordance with a motion of appellant, the
court may dismiss the appeal or affirm the appealed judgment or order unless
disposition would prevent a party from seeking relief to which it would
otherwise be entitled. 

.               .               .


	The Appellant has complied with the requirements of Rule 42.1(a)(1).  The Court has
considered this cause on the Appellant's motion and concludes the motion should be granted
and the appeal should be dismissed.  We therefore dismiss the appeal.

September 25, 2003


						_______________________________________

						RICHARD BARAJAS, Chief Justice



Before Panel No. 4

Barajas, C.J., Larsen, and McClure, JJ.






